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15
                                 UNITED STATES DISTRICT COURT
16
                              NORTHERN DISTRICT OF CALIFORNIA
17
                                      SAN FRANCISCO DIVISION
18
19   MAXIMILIAN KLEIN, et al., on behalf of          Case No. 3:20-cv-08570-JD
     themselves and all others similarly situated,
20
                                   Plaintiffs,       MEMORANDUM IN SUPPORT OF
21                                                   DEFENDANT’S UNOPPOSED
            v.                                       ADMINISTRATIVE MOTION FOR
22
                                                     ISSUANCE OF LETTERS OF REQUEST
     META PLATFORMS, INC., a Delaware
23   Corporation headquartered in California,
                                                     Judge: Hon. James Donato
24                                 Defendant.
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 1          Defendant Meta Platforms, Inc. (“Meta”) respectfully submits this Memorandum of Points

 2   and Authorities in support of its Unopposed Administrative Motion for Issuance of Letters of

 3   Request for discovery from Telegram Messenger Inc. (“Telegram”) and Tencent Holdings Ltd.

 4   (“Tencent”) (collectively, the “Foreign Non-Parties”).

 5                                               INTRODUCTION

 6          Meta brings this Motion to obtain discovery from two non-parties headquartered outside

 7   of the United States. Meta believes that each of these non-parties possesses or controls information

 8   relevant to its defenses in this action, including on issues related to market definition and market

 9   power. Although Meta has served these Foreign Non-Parties’ domestic subsidiaries where

10   possible, Meta has reason to believe that these subsidiaries have limited responsive documents in

11   their custody or control, and Meta seeks information from the Foreign Non-Parties only where that

12   information is not in the possession or custody of the domestic subsidiary.

13          Meta expects that the Foreign Non-Parties’ documents will show that they—along with

14   numerous other entities—compete with Meta, and that there is no “industry or public recognition

15   of” Plaintiffs’ contrived “Social Advertising,” “Social Network,” or “Social Media” markets.

16   Brown Shoe Co. v. United States, 370 U.S. 294, 325 (1962); see also FTC v. Qualcomm Inc., 969

17   F.3d 974, 992 (9th Cir. 2020) (“A threshold step in any antitrust case is to accurately define the

18   relevant market, which refers to the area of effective competition.”) (internal quotations omitted).
19   Meta also expects that the documents will show that its competitors do not use privacy policies or

20   privacy practices to differentiate Meta’s offerings from their own.

21           Accordingly, Meta respectfully requests that the Court grant this motion to obtain limited

22   documents from the following entities, each of which is described in more detail in Section I, infra:

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 2              •   Telegram, a cloud-based instant messaging service, is registered in the British

 3                  Virgin Islands. In late 2021, when Meta’s products experienced a six-hour long

 4                  outage, Telegram reportedly gained 70 million new users.1

 5              •   Tencent, a Chinese internet technology company, owns WeChat and QQ, which

 6                  Tencent labels as “social platform[s].”2

 7          Specifically, Meta respectfully requests that this Court for each of Telegram and Tencent,

 8   issue letters of request for the collection of documentary evidence. For the Court’s awareness,

 9   Judge Boasberg granted Meta’s motion for the issuance of substantially similar letters of request

10   to the same Foreign Non-Parties in FTC v. Meta Platforms, Inc., Case No. 1:20-cv-03590 (D.D.C.),

11   ECF No. 148. Meta has informed Consumer and Advertiser Plaintiffs of the relief it is seeking,

12   and counsel for Plaintiffs stated that they take no position on the Motion.

13                                             ARGUMENT

14   I.     THE COURT HAS AUTHORITY TO ISSUE THE REQUESTED LETTERS OF REQUEST.

15          Congress has authorized this Court to issue letters of request for the production of

16   documents from non-parties located in foreign countries such as the People’s Republic of China

17   and the British Virgin Islands for use in an action pending in the United States. See All Writs Act,

18   28 U.S.C. § 1781(b)(2) (permitting “the transmittal of a letter rogatory or request directly from a
19   tribunal in the United States to the foreign or international tribunal, officer, or agency to whom it

20   is addressed and its return in the same manner”).

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               Jon Porter, Telegram Gains 70M New Users in Just One Day After Facebook Outage,
24   THE VERGE (Oct. 6, 2021), https://www.theverge.com/2021/10/6/22712191/telegram-70-million-
     new-users-facebook-outage-surge-whatsapp; see also Stan Schroeder, If You Think Facebook
25   Has No Competition, Just Ask Telegram, mashable.com (Mar. 14, 2019),
26   https://mashable.com/article/telegram-3-million-users (noting that over 3 million users signed up
     for Telegram during the 24 hours after a brief outage of Facebook Messenger, Instagram, and
27   WhatsApp).
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               Tencent, Business, https://www.tencent.com/en-us/business.html (accessed March 26,
28   2022) (select “Weixin/WeChat” and “QQ” for description).

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 1          China and the United States are signatories to the Hague Convention on the Taking of

 2   Evidence Abroad in Civil or Commercial Matters (“Hague Evidence Convention”).3 The British

 3   Virgin Islands have given statutory effect to the Hague Evidence Convention through their own

 4   legislation. See Evidence (Proceedings in Foreign Jurisdictions) Act, 1988 art. 9(3) (BVI).

 5   Pursuant to the Hague Evidence Convention, “[i]n civil or commercial matters a judicial authority

 6   of a Contracting State may, in accordance with the provisions of the law of that State, request the

 7   competent authority of another Contracting State, by means of a Letter of Request, to obtain

 8   evidence, or to perform some other judicial act.” Hague Evidence Convention, Art. 1, Mar. 18,

 9   1970, 23 U.S.T. 2555. The Supreme Court has recognized that the Hague Evidence Convention

10   is “intended to establish optional procedures that would facilitate the taking of evidence abroad.”

11   See Société Nationale Industrielle Aérospatiale v. U.S. Dist. Ct. for S. Dist. of Iowa, 482 U.S. 522,

12   538 (1987).

13   II.    META’S REQUESTS ARE RELEVANT AND LIKELY TO LEAD TO MATERIAL EVIDENCE.

14          In deciding whether to issue letters of request, “U.S. courts apply the discovery principles

15   contained in Rule 26 [of the Federal Rules of Civil Procedure].” Lantheus Med. Imaging, Inc. v.

16   Zurich Am. Ins. Co., 841 F. Supp. 2d 769, 776 (S.D.N.Y. 2012); see Zoho Corp. Pvt. Ltd. v.

17   Freshworks, Inc., 2021 WL 2769009, at *2 (N.D. Cal. July 2, 2021) (applying Rule 26 in

18   evaluating whether to issue letters of request under the Hague Evidence Convention); Restatement
19   (Third) of Foreign Relations Law § 442 (1987). Federal Rule of Civil Procedure 26(b)(1) permits

20   parties to “obtain discovery regarding any nonprivileged matter that is relevant to any party’s claim

21   or defense and proportional to the needs of the case,” including material that is not admissible.

22   Because the bar for granting a motion for issuance of a letter of request is low, “judges in this

23   district have held that motions requesting issuance of a letter of request or letter rogatory should

24   generally be granted and that ‘[t]he opposing party must show good reason for a court to deny an

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              See Status Table, Convention of 18 March 1970 on the Taking of Evidence Abroad in
26   Civil or Commercial Matters, Hague Conference on Private Int’l Law,
     http://www.hcch.net/index_en.php?act=conventions.status&cid=82 (last visited March 7, 2022) ;
27   Hague Evidence Convention - Acceptances of Accessions, Hague Conference on Private Int’l
     Law, https://assets.hcch.net/docs/f094fd72-6213-4950-96ea-955f41a311eb.pdf (last updated
28   August 1, 2022).

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 1   application for a letter rogatory.’” Successor Agency to Former Emeryville Redevelopment Agency

 2   v. Swagelok Co., 2020 WL 7042860, at *2 (N.D. Cal. Dec. 1, 2020) (quoting SEC v. Leslie, 2009

 3   WL 688836, at *2 (N.D. Cal. Mar. 16, 2009)).

 4          As set forth below, all of the information that Meta seeks from the Foreign Non-Parties

 5   clears this threshold because it is relevant to Meta’s defenses—specifically, the competition that it

 6   faces; the low barriers to entry as evidenced by the ability of small upstarts to achieve runaway

 7   success; the contours of the relevant product and geographic market; data regarding market size

 8   and share; and the lack of a plausible theory of antitrust harm based on the idea that companies

 9   that vie for the time and attention of Meta’s users compete on the basis of privacy practices.

10                  Telegram

11          Telegram is a free, cross-platform, cloud-based service registered in the British Virgin

12   Islands. Telegram expressly bills itself as an alternative to WhatsApp.4 Telegram’s mission is “to

13   provide a secure means of communication that works everywhere on the planet.” 5 Telegram

14   launched in late 2013 and boasts simultaneous message syncing on all user devices.6 By the time

15   Meta closed its acquisition of WhatsApp in October 2014, Telegram already had close to 50

16   million monthly active users.7 In 2020, Telegram introduced video calling with end-to-end

17   encryption.8 In January 2021, Telegram’s CEO & Founder, Pavel Durov, announced the company

18   had surpassed 500 million monthly active users.9 In late 2021, when Meta’s products experienced
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               Telegram FAQ, https://telegram.org/faq (accessed March 8, 2022).
            5
22             Id.
             6
               Id.
23           7
               Number of Monthly Active Telegram Users Worldwide from March 2014 to April 2020,
24   STATISTA (March 2, 2022), https://www.statista.com/statistics/234038/telegram-messenger-mau-
     users/.
25           8
               Ivan Mehta, Telegram Introduces End-to-End Encrypted Video Calls, thenextweb.com
26   (Aug. 14, 2020), https://thenextweb.com/news/telegram-introduces-end-to-end-encrypted-video-
     calls.
27           9
               Phoebe Magdirila, Telegram Crosses 500 Million Monthly Active Users, S&P GLOBAL
     (Jan. 13, 2021), https://www.spglobal.com/marketintelligence/en/news-insights/latest-news-
28   headlines/telegram-crosses-500-million-monthly-active-users-62094638.

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                                                                                LETTERS OF REQUEST
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 1   a six-hour-long outage, Telegram reportedly gained 70 million new users.10

 2          Meta seeks discovery from Telegram to show that Telegram has competed with Meta’s

 3   products. Meta seeks documents related to how Telegram views competition between Telegram

 4   and Meta (Document Request No. 1) and whether Telegram’s services provide users with features

 5   substantially similar to those provided by Meta (Document Request No. 2). Meta also asks

 6   whether Telegram has considered compensating its users for data to test Plaintiffs’ damages theory

 7   (Document Request No. 3). To address Plaintiffs’ allegations related to market power, Meta is

 8   requesting documents related to whether Telegram believes that its privacy policies and practices

 9   differentiate its products from those offered by its competitors or impact user satisfaction or

10   engagement (Document Request Nos. 4 & 5). Lastly, Meta has two limited data requests related

11   to Plaintiffs’ allegations of market share and market definition regarding time spent on Telegram

12   and the number of Daily Active Users (Document Request Nos. 6 & 7). Meta believes that this

13   information is relevant to countering Plaintiffs’ allegations that Meta has monopoly power in any

14   cognizable market. Meta limited these requests to time spent, active users, and daily active users,

15   which have been recognized as “appropriate indicators” of “market share.” See Fed. Trade

16   Comm’n v. Facebook, Inc., 2022 WL 103308, at *7 (D.D.C. Jan. 11, 2022). Request Number 6

17   seeks data limited to specific periods of time when there was an outage on Meta’s products and

18   seeks information related to diversion from Meta’s products. In Request Number 7, Meta has
19   asked for data from 2013-2016 and 2021 to help respond to Plaintiffs’ allegations that Meta has

20   any type of durable monopoly power.

21          Meta has served document requests on Telegram LLC for documents in the custody and

22   control of Telegram’s United States subsidiary, but Meta is also seeking relevant documents that

23   it believes are only available in the British Virgin Islands, where Telegram is headquartered. Meta

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25             Jon Porter, Telegram Gains 70M Users in Just One Day After Facebook Outage, THE
     VERGE (Oct. 6, 2021), https://www.theverge.com/2021/10/6/22712191/telegram-70-million-new-
26   users-facebook-outage-surge-whatsapp; see also Stan Schroeder, If You Think Facebook Has No
     Competition, Just Ask Telegram (March 14, 2019), mashable.com,
27   https://mashable.com/article/telegram-3-million-users (noting that over 3 million users signed up
     for Telegram during the 24 hours after a brief outage of Facebook Messenger, Instagram, and
28   WhatsApp).

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 1   seeks documents only where they are not in the possession or control of the United States

 2   subsidiary.

 3                  Tencent

 4          Tencent is a multinational internet technology company headquartered in Shenzhen, China.

 5   It owns and operates WeChat and QQ, which it refers to as “social platform[s].”11 As of June 30,

 6   2021, WeChat had over 1.2 billion monthly active users worldwide and QQ had over 590 million.12

 7   Indeed, as of late 2021, WeChat is the most used social networking app in China.13 WeChat

 8   supports text messaging, video and voice calling, and group messaging and calling.14 WeChat

 9   offers a feature called “moments” which “functions like the Facebook Wall and allows users to

10   share their thoughts and photos in a social media feed.”15 QQ also allows its “users [to] socialize,

11   watch shows and play games together.”16 Tencent has explained that QQ provides “immersive

12   social and entertainment experiences.”17

13          Meta seeks discovery from Tencent to show that Tencent’s products have competed with

14   Meta’s products. Meta seeks documents related to how Tencent views competition between its

15   products and Meta (Document Request No. 1) and whether WeChat or QQ’s services provide users

16   with features substantially similar to those provided by Meta (Document Request No. 2). Meta

17   also asks whether Tencent has considered compensating its users for data to test Plaintiffs’

18   damages theory (Document Request No. 3). To address Plaintiffs’ allegations related to market
19   power, Meta is requesting documents related to whether Tencent believes that its privacy policies

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                 See Tencent, Business, https://www.tencent.com/en-us/business.html (accessed March
21   26, 2022) (select “Weixin/WeChat” and “QQ” for description).
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22               Tencent Holdings Ltd., 2021 Interim Report at 5,
     https://static.www.tencent.com/uploads/2021/08/31/7276c2279348d70e0b0f74f6c470f92e.pdf.
23            13
                 Lai Lin Thomala, Most Popular Social Media in China Q3 2021, Statista (Feb. 14,
     2022), https://www.statista.com/statistics/250546/leading-social-network-sites-in-china/.
24            14
                 Everything You Need to Know About WeChat,
25   https://washington.org/welcomechina/angs-chat/blog-1-wechat (accessed March 31, 2022).
              15
                 Id.
26            16
                 Priyanka Boghani, Tencent Poised to lead China’s Charge into the Metaverse, S&P
27   GLOBAL (Mar. 17, 2022), https://www.spglobal.com/marketintelligence/en/news-insights/latest-
     news-headlines/tencent-poised-to-lead-china-s-charge-into-the-metaverse-69311462.
28            17
                 Tencent Holdings Ltd., 2021 Interim Report at 6, supra.

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 1   and practices differentiate its products from those offered by its competitors or impact user

 2   satisfaction or engagement (Document Request Nos. 4 & 5). Meta also seeks documents related

 3   to Tencent’s acquisition of certain U.S.-based companies that compete with Meta (Document

 4   Request No. 6). Lastly, Meta has two limited data requests related to Plaintiffs’ allegations of

 5   market share and market definition regarding time spent on WeChat and QQ and the number of

 6   Daily Active Users (Document Request Nos. 7 & 8). Meta believes that this information is relevant

 7   to countering Plaintiffs’ allegations that Meta has monopoly power in any cognizable market.

 8   Meta limited these requests to time spent, active users, and daily active users, which have been

 9   recognized as “appropriate indicators” of “market share.” See Fed. Trade Comm’n v. Facebook,

10   Inc., 2022 WL 103308, at *7 (D.D.C. Jan. 11, 2022). Request Number 7 seeks data limited to

11   specific periods of time when there was an outage on Meta’s products and seeks information

12   related to diversion from Meta’s products. In Request Number 8, Meta has asked for data from

13   2011-2014 and 2021 to help respond to Plaintiffs’ allegations that Meta has any type of durable

14   monopoly power.

15          Meta has served document requests on Tencent America LLC for documents in the custody

16   and control of Tencent’s United States subsidiary, but Meta is also seeking documents that it

17   believes are only available in China, where Tencent is headquartered. Meta seeks documents only

18   where they are not in the possession or custody of the United States subsidiary.
19   III.   COMITY CONSIDERATIONS FAVOR ISSUING THESE LETTERS.

20          When considering whether to authorize international discovery through the Hague

21   Evidence Convention, the Court also considers international comity concerns. See Radware, Ltd.

22   v. A10 Networks, Inc., 2014 WL 631537, at *2 (N.D. Cal. Feb. 18, 2014). Courts generally apply

23   the following comity factors to determine whether to grant a request for international discovery:

24   (1) the importance to the litigation of the documents requested; (2) the degree of specificity of the

25   request; (3) whether the information originated in the United States; (4) the availability of

26   alternative means of securing the information; and (5) the extent to which noncompliance with the
27   request would undermine important interests of the United States, or compliance with the request

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 1   would undermine important interests of the state where the information is located. See Société

 2   Nationale Industrielle Aérospatiale, 482 U.S. at 544 n.28.

 3          Here, these factors support issuing the letters. First, as set out above, the document

 4   requests are important to Meta’s defenses in this litigation. Second, the narrow requests for each

 5   entity are specific, seek only a limited set of evidence, and are directly relevant to issues in this

 6   case. Third and fourth, even if the documents may have originated overseas, Meta specifically

 7   seeks only those documents that are unlikely to be found in the United States, which

 8   counterbalances the foreign origin of the documents and favors disclosure. See Lantheus Med.

 9   Imaging, 841 F. Supp. 2d at 793. Finally, “[w]hen a court orders resort to the [Hague] Convention

10   or to other means of international judicial assistance, it commits the issue whether compliance with

11   the request would undermine important interests of the state where the information is located to

12   the courts or other authorities of that state.” Restatement (Third) of Foreign Relations Law § 473

13   Reporter’s Notes at n.5 (1987). When that is true, Courts need “not assess the fifth factor.” Jaguar

14   Land Rover Ltd. v. DR. ING. H.C. F. Porsche AG, 2021 WL 3075698, at *2 (D.D.C. June 22,

15   2021); see also Sun Grp. U.S.A. Harmony City, Inc. v. CRRC Corp. Ltd., 2019 WL 6134958, at

16   *3-4 (N.D. Cal. Nov. 19, 2019) (finding this factor neutral in the absence of evidence that

17   discovery through the Hague Evidence Convention would thwart the requesting party’s ability to

18   “obtain documents necessary to litigate its claims”).
19                                              CONCLUSION

20          For the reasons above, Meta respectfully requests that the Court grant this motion and

21   execute the attached letters of request.

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 1    Dated: October 28, 2022                   Respectfully submitted,

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 1                                  CERTIFICATE OF SERVICE

 2          I hereby certify that on this 28th day of October, 2022, I electronically transmitted the

 3   foregoing document to the Clerk’s Office using the CM/ECF System.

 4
                                                    By:   /s/ Sonal N. Mehta
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                                                           Sonal N. Mehta
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